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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               SOUTHERN DIVISION

CATINA PARKER, as Personal Representative
of the Estate of Leonard Parker, Jr., Deceased                                         PLAINTIFF

VERSUS                                                              NO.1:21-cv-00217-HSO-BWR

The CITY OF GULFPORT, a municipal
corporation; JASON CUEVAS, in his individual
and official capacity                                                               DEFENDANTS


   MEMORANDUM BRIEF IN SUPPORT OF THE RENEWED MOTION IN LIMINE
    TO EXCLUDE TESTIMONY OF JOHN STAMM, P.E., PLAINTIFF’S EXPERT


       COMES NOW the Defendant, Jason Cuevas, by and through his counsel of record, and

submits his Memorandum Brief in Support of his Renewed Motion In Limine and/or Motion to

Exclude or Strike the Testimony (Daubert motion) of John Stamm, P.E., Plaintiff’s Expert.

                                       I. INTRODUCTION

       In her Third Amended Complaint, the Plaintiff has asserted a claim pursuant to 42 U.S.C.

§1983, that on February 1, 2020, Jason Cuevas, who was employed as a police officer with the

Gulfport Police Department, used unreasonable and excessive force against Leonard Parker, Jr.

in violation of the United States Constitution. [Doc. 141]. Officer Cuevas has denied all

allegations of any use of excessive force and has asserted that he is entitled to qualified

immunity. [Doc. 146]. The parties have now completed discovery on all issues. During

discovery on the issue of qualified immunity, the Plaintiff designated John Stamm, P.E. as an

expert witness and submitted his Expert Report, which disclosed opinions he intends to offer at

trial. (Doc. 100; Report of Stamm, Exhibit “A”). Stamm’s deposition was taken on September


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8, 2023. (DP Stamm, Exhibit “B”). At the conclusion of discovery on the issue of qualified

immunity, Officer Cuevas filed a Motion In Limine to Exclude the Expert Testimony of Stamm.

[Docs. 130, 131]. The Court entered an Order Denying Without Prejudice Defendant Jason

Cuevas’s Motion to Exclude the Testimony of John Stamm [Doc. 158]. In its Order, the Court

stated that the issues presented in the Motion were unripe, but could be re-urged upon the

conclusion of full discovery. [Id.]. During discovery, the Plaintiff again designated Stamm as an

expert witness and used the same Report. [Doc. 183; Report of Stamm, Exhibit “A”]. Now that

discovery has concluded, Officer Cuevas renews his arguments as before. That is, Officer

Cuevas challenges the reliability and admissibility of Stamm’s opinions as it relates to the issue

of whether the 2014 GMC Sierra Truck being driven by Parker was moving in the direction of

Office Cuevas, or could have been perceived to be moving, at the time of the officer involved

shooting.

                       II. CLAIMS ASSERTED BY THE PLAINTIFFS

       The police shooting at issue in this case occurred during the early morning hours of

February 1, 2020. As to the events leading up to the shooting, several individuals, including

Leonard Parker, Jr., were attending a birthday party at the home of Stephanie Baldwin, who

resided at 210 25th Street, Gulfport, MS. The party began during the early morning hours of

Friday, January 31, 2020. By all accounts, alcohol was served and many of the guests were

drinking, including Parker.1 As the evening proceeded, one of the guests, Tremaine Markray,

became disorderly and aggressive with several of the guests. One of the guests, Maxine Owens,



       1
           A Toxicology Screen determined that Parker had a BAC of 0.185, over twice the level of
intoxication in Mississippi. (Toxicology Report, Exhibit “C”; DP Dr. Turner, p. 55, Exhibit “D”).

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called 911 and asked for police assistance with the escalating situation. Officer Cuevas and

another nearby officer were dispatched to this call.

        Markray ultimately agreed to leave with Parker with the intent of going to a hotel to

“sleep it off.” Parker was driving his dark color 2014 GMC Sierra pick up truck and Markray sat

in the front passenger seat. About this time, Officer Cuevas approached the area and parked his

patrol vehicle on the north side of 25th Street, just west of its intersection with Oak Avenue, but

east of a mailbox with the address of 208 25th Street. Officer Cuevas did not have his blue lights

or siren activated when he arrived or when he parked his vehicle.2

        Officer Cuevas exited the vehicle and then proceeded westbound on foot on 25th Street,

searching for the address of the “drunk and disorderly” call by looking at the numbers on a

mailbox located on the north side of the road. The street was dark and Officer Cuevas had to

illuminate the mailbox with his flashlight in order to locate the address. While Officer Cuevas

was proceeding on foot down 25th Street, he could hear a commotion ahead and noticed a truck

backing out of what he thought was a driveway (according to the MBI records, the truck backed

out of the front yard). Officer Cuevas witnessed the truck back into a mailbox located directly

across the street (213 25th Street). He believed the truck was leaving from the residence that had

reported the “drunk and disorderly” male. While still in the street, Officer Cuevas started

walking towards the truck to make contact with the driver and, at the same time, he was shining

his flashlight towards the truck to get the driver’s attention.




        2
          Officer Cuevas testified that this is to maintain a tactical advantage over an unknown
encounter that involved an altercation or domestic dispute. (DP Cuevas, p. 42, Exhibit “E”).

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       While Officer Cuevas was in the middle of the street, the truck pulled forward from the

mailbox, straightened out and then began to proceed eastbound on 25th Street angling in his

direction. Officer Cuevas activated the strobe on his flashlight and then removed his firearm

from the holster and utilized the weapon light, all in an effort to get the driver’s attention.

Officer Cuevas also identified himself as police and gave several commands for the driver to

stop the vehicle. Officer Cuevas specifically recalls yelling: “Stop the vehicle! Stop the

vehicle! Police! Stop the vehicle!” The truck continued to drive towards Officer Cuevas as the

headlights became brighter as he heard the engine rev up and pick up speed in his direction.

       Officer Cuevas then tried to back peddle out away from the middle of the road, moving

towards the south side of the road. He states that the headlights of the truck followed him

towards the south side of the road and he felt that the truck constituted an imminent threat of

harm or death to himself such that he recalls firing three consecutive shots in quick succession

from his service weapon toward the driver of the truck which immediately came to a stop.

       In the Third Amended Complaint, the Plaintiffs allege that at the time Officer Cuevas

fired his weapon, that Parker “had brought the truck to a full stop”. [Doc. 141, ¶¶ 52, 54]. The

Plaintiffs allege that at the time Officer Cuevas fired his weapon, “he was standing to the north

side of the truck and not immediately in front of the truck when he opened fire on Mr. Parker”

and that “[a]ll of the bullets entered the vehicle through the far driver’s side of the front

windshield.” [Id., ¶¶ 63, 64]. The Plaintiffs allege that prior to Officer Cuevas firing his weapon,

“the truck’s wheels were angled straight ahead, flush with the vehicle parallel to the roadway, not

angled facing Defendant Cuevas to the north.” [Id., ¶66]. It is the Plaintiff’s position that Officer




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Cuevas “was not standing in the path of the vehicle at any time prior to or during the shooting.”

[Id., ¶67].

        The investigation of this matter was spear headed by the Mississippi Bureau of

Investigation. The Biloxi Police Department Crime Scene Unit processed the scene and the

physical evidence collected, including the truck driven by Parker. There were multiple alleged

witnesses to the events, each of whom had a different perspective from not only each other, but

also from that of Officer Cuevas. These witnesses were all standing, more or less, on either the

front lawn or front porch of Stephanie Baldwin’s house and would have only been able to view

the rear and/or driver’s side of Parker’s truck. On scene, investigators noticed that although the

2014 GMC Sierra truck driven by Parker was stopped with its passenger side wheels on the grass

and the driver side wheels on the asphalt, the truck was still in “Drive”, with the driver side door

open. (Biloxi CSU Photos, Exhibit “F”). Even so, the truck was not moving forward.

        The Plaintiff requested that John Stamm, P.E. “analyze and reconstruct” the February 1,

2020 “accident”. (Stamm Report, Exhibit “A”, p. 1).3 Beyond reviewing the scene and truck

photographs taken by the Biloxi Police Department Crime Scene Unit, he also reviewed the

various conflicting witness statements given to the police, recorded statements, and/or deposition

testimony (if taken). (Id., p. 20). Stamm states in his report that the testimony or statements

indicate that the truck was either stopped prior to the shooting or that it stopped immediately

after the shooting. (Id., p. 30). Stamm also conducted a site inspection of 25th Street. (Id., p.

20). Stamm attempted to re-enact the events, but was not driving a 2014 GMC Sierra and his



        3
          Stamm states he was hired to analyze the vehicle and the vehicle movement. (DP Stamm, p. 84,
Exhibit “B”). Stamm is not a ballistics expert. (Id., p. 83, 154).

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“exemplar truck” had both a dissimilar turning radius and wheel base from the truck driven by

Parker. (Id., p. 25; DP Stamm, pp. 95-98, 101-103, 107-09, Exhibit “B”). Stamm also inspected

two different GMC Sierra trucks. (Stamm Report, p. 26, Exhibit “A”). The first was a 2015 and

he used this truck to confirm different features of the truck. The second was a 2014 which he

used to determine how many pounds of force it would take to prevent the truck from rolling

while the engine was running at idle (at approximately 500 RPM) and the vehicle in drive. (Id.).

He conducted this “test” on a parking lot surface (as opposed to testing the truck when the

passenger tires were on grass and the driver side tires were on asphalt). (Id.; DP Stamm, p. 138,

Exhibit “B”).

        Stamm’s “Opinions and Conclusions” are summarized on pages 31 and 32 of his Report.

(Exhibit “A”). Stamm opines that if the truck was brought to an immediate stop after the

shooting (as Officer Cuevas testified), then Parker “must have applied his service brake”. (Id., p.

32). But, he admittedly doesn’t know if Parker could have physically applied the service brake

after the shots were fired or after he was hit. (Id.).

        Stamm then goes on to opine that if the truck was already stopped prior to the shooting ,

then, to remain at a stop, either (a) Parker was stopped without the application of the brake and

then traveled at a slow rate of speed and coasted to a stop due to the rolling resistance force of

the vehicle or (b) Parker utilized his brake to stop the vehicle at the stopped location prior or

possibly at the time of the shooting (as some of the witnesses testified). (Exhibit “A”, p. 32).

        Stamm was deposed on September 28, 2023 and he testified that each of these potential

scenarios discussed in his Report were nothing more than possibilities (his words) and he could

not state to a reasonable degree of probability what he believed to occur on February 1, 2023; i.e.,


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he could not state with any certainty that the truck was moving or stopped prior to the shooting,

or even why it stopped. (DP Stamm, pp. 117, 119-21, 140-43, 198-99, 200, Exhibit “B”). In

fact, Stamm testified that he cannot say if the truck was stopped or not and that he does not have

any physical evidence to help him determine this issue. (Id., pp. 118-27, 140, 144-45, 154).

Because the Plaintiff attached the same Report of Stamm in the most recent expert designation,

there was no need to depose Stamm a second time. Now that discovery has concluded, his

opinions remain unreliable and speculative and Stamm should not be allowed to offer any

opinions on the events in question.

                                        III. ARGUMENT

       Rule 702 of the Federal Rules of Evidence lays out the test for admissibility of expert

testimony:

       A witness who is qualified as an expert by knowledge, skill, experience, training,
       or education may testify in the form of a opinion or otherwise if:

       (a) The expert’s scientific, technical, or other specialized knowledge will help
       the trier of fact to understand the evidence or to determine a fact in issue;
       (b) the testimony is based on sufficient facts or data;
       © the testimony is the product of reliable principles and methods; and
       (d) the expert has reliably applied the principles and methods to the facts of the
       case.

Fed. R. Evid. 702. Officer Cuevas does not dispute the qualifications of Stamm as an “accident

reconstructionist”. Additionally, Stamm’s opinions regarding whether Parker’s truck was

moving in the direction of Officer Cuevas at the time of the shooting are arguably relevant to the

issues in this case. Even so, Officer Cuevas questions whether Stamm’s opinions are reliable.

See Kumho Tire Co. v. Carmichael, 526 U.S. 137, 147 (1999); Daubert v. Merrell Dow Pharm.,

Inc., 509 U.S. 579 (1993).


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       As it has been explained, “‘[r]eliability is determined by assessing whether the reasoning

or methodology underlying the testimony is scientifically valid.’” Moody v. Walmart, Inc. 2022

U.S. Dist. Lexis 34230 (S.D. Miss. 2022) (quoting Knight v. Kirby Inland Marine Inc., 482 F.3d

347, 352 (5th Cir. 2007) (internal quotations omitted). This means:

       The subject of an expert’s testimony must be ‘scientific . . . knowledge. [Daubert]
       at 589-90, 113 S. Ct. 2786 (notation omitted). The testimony must be “ground[ed]
       in the methods and procedures of science” and “more than subjective belief or
       unsupported speculation.” Id. at 590, 113 S. Ct. 2786. This is not to say it “must
       be ‘known’ to a certainty; arguably, there are no certainties in science.” Id.
       (citation omitted). “[I]n order to qualify as ‘scientific knowledge,’ an inference or
       assertion must be derived by the scientific method.” Id.

Moody, 2022 U.S. Dist. Lexis 34230 at *14-15 (quoting Paz v. Brush Engineered Materials, Inc.,

555 F.3d 383, 388 (5th Cir. 2009)). Most importantly, “‘nothing in either Daubert or the Federal

Rules of Evidence requires a district court to admit opinion evidence that is connected to existing

data only by the ipse dixit [... because he says so ...] of the expert. A court may conclude that

there is simply too great an analytical gap between the data and the opinion proffered.’” Moody,

2022 U.S. Dist. Lexis 34230 at *19-20 (quoting General Elec. Co. v. Joiner, 522 U.S. 136, 146

(1997)) (citing Atl. Specialty Ins. Co. v. Porter, Inc., 742 F. App’x 850, 855 (5th Cir. 2018)

(affirming exclusion of expert opinions where expert theory “seem[ed] possible” but lacked data

and had not been tested)).

       Applying the above to the present case, a jury will need to decide whether Parker’s truck

posed an immediate threat to Officer Cuevas prior to the shooting. In the Fifth Circuit, the two

important facts for a factfinder to consider are: (1) “the limited time the officers had to respond”;

and, (2) “the closeness of the officers to the projected path of the vehicle”. Irwin v. Santiago,

2021 U.S. App. Lexis 31692 *6 (5th Cir. 2021) (citing Hathaway v. Bazany, 507 F.3d 312, 321


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(5th Cir. 2007)). Also important to this analysis is: (1) whether there was a failure to heed the

officer’s commands to stop, (2) the officer’s position, and, (3) the period of time it took for the

officer to perceive and react to the direction of the plaintiffs vehicle. Irwin, 2021 U.S. App. Lex

31692 at *7.

       Looking to the Report of Stamm, this Court should find that his proposed testimony is

nothing short of confusing - and not reliable - and will not be helpful to a jury on any of the

above factual issues. When deposed, Stamm testified that he cannot state with any certainty

whether the truck was moving or stopped prior to the shooting. (DP Stamm, pp. 117-121, 140-

143, 198-200, Exhibit “B”). That is, it is possible the truck was moving or it is possible that the

truck was stopped when the shooting occurred. Stamm admits that he does not have any physical

evidence to determine whether the truck was moving forward or was stopped when the shots

were fired. (Id., pp. 118-127, 140, 144-145, 154). Stamm does not offer any opinion where

Officer Cuevas was located in relation to the truck at the time the shots were fired. (Report,

Exhibit “A”). Nor does Stamm offer any opinion as to the period of time it took for Officer

Cuevas to perceive and react to the direction of Parker’s truck. (Id.).

       Stamm did offer opinions on how it is he believes that the truck could have come to rest

where it did and still be in “Drive” without any brake applied, as it was documented in the Biloxi

CSU photographs. Stamm offers what he calls “scenarios” involving whether the truck was

stopped before the shooting or whether the truck came to an immediate stop after the shooting.

(Report, p. 30, Exhibit “A”; DP Stamm, pp. 197-198, Exhibit “B”). Stamm opines that either (1)

Parker was traveling at an unknown speed and applied the service brake to come to an immediate

stop after the shooting (but it is unknown if Parker could have applied the brake after being shot


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at and hit), or (2) Prior to the shooting, Parker came to a stop at the location without the brake

being applied because the truck was traveling at a “slow” rate of speed after such that the truck

coasted or rolled to a stop without the brake being applied, or (3) Prior to the shooting, Parker

came to a stop at the location by applying the brake and the truck did not move after. (Report,

pp. 30-32, Exhibit “A”; DP Stamm, pp. 121-127, 140-144, 197-200, Exhibit “B”). In his

deposition, Stamm characterized each of these as “scenarios” or “options” as possibilities and

admits that he cannot say which “scenario” occurred and cannot say if the service brake was

applied or not. (DP Stamm, pp. 121-127, 140-144, 197-200, Exhibit “B”).4

        Based on the foregoing, Stamm’s opinions are nothing more than guesses, especially

given that Stamm opines in possibilities and could not state which scenario was more “probable”

over the other. “‘Evidence is relevant if . . . it has any tendency to make a fact more or less

probable that it would be without the evidence; and the fact is of consequence in determining the

action.’” Castro v. Kory, 2023 U.S. Dist. Lexis 45759 *16 (W.D. Tex. 2023). Without the ability

to say what explanation was more probable, Stamm’s opinions are not helpful and should be

stricken.

        The jury can listen to the testimony of the party-goers and Cuevas and decide for

themselves if the Parker truck was moving or stopped at the time of the officer shooting. The

jury does not need “possibility” testimony of Stamm to explain to them how it is the truck could

have come to a stop if the truck was moving at the time of the shooting. Nor does the jury need

        4
           Stamm testified that his two diametrically opposed theories (the truck was moving or it was
stopped before the shooting) were “possibilities”. Following a break, Stamm came back on the record
and changed his testimony, claiming that each of his theories is “possible” and his opinion as to “each
theory” is probable. (DP Stamm, pp. 185, 190-191, Exhibit “B”). When questioned again by defense
counsel, Stamm admitted that he and Plaintiff’s counsel discussed changing his testimony during the
break to “probabilities” as opposed to “possibilities”. (Id., pp. 194-196).

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“possibility” testimony of Stamm to explain to them how it is the truck could have been stopped

at the time of the shooting and be at that stopped location in “Drive” without the brake being

depressed. Such “could have” opinion testimony is wholly speculative and this Court should find

that Stamm’s testimony is unreliable and therefore inadmissible. See e.g., Bruner v. Cemex, Inc.,

2010 U.S. Dist. Lexis 146145 *4-5 (S.D. Miss. 2010) (Court held that an expert’s opinion that

the unevenly adjusted brakes could have caused the jackknife is too speculative) (citing Curtis v.

M&S Petroleum, Inc., 174 F.3d 661, 668 (5th Cir. 1999) (an expert opinion must be “grounded in

the methods and procedures of science and must be more than unsupported speculation or

subjective belief”); Allen v. Pennsylvania Eng’g Corp., 102 F.3d 194 (5th Cir. 1996) (holding that

mere “suggestiveness” of a causal relationship is not a reliable expert opinion under Daubert);

Hammond v. Coleman Co., Inc., 61 F. Supp. 2d 533 (S.D. Miss. 1999) (holding that expert

testimony was too speculative where the expert spoke only in terms of possibilities rather than

probabilities); Kemp v. Biolab, 2005 U.S. Dist. Lexis 34035 (S.D. Miss 2005) (noting that a

possibility cannot serve as a basis for recovery)).

       The Plaintiff will likely assert that all of Stamm’s opinions are given to an engineering

certainty and that his “possibilities” are collectively a “probability”. Yet, as shown above,

Stamm cannot say which opinion of the facts is probable. Either Parker was stopped at the time

of this shooting (Plaintiff’s version) or he was moving at the time of the shooting (Cuevas’s

version). Stamm cannot equivocate on which version is probable without invading the province

of the jury. Both versions collectively cannot be probable because they are hopelessly in conflict.

Stamm’s opinions are not reliable, will confuse the jury, are not relevant, and should be

excluded.


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                                     IV. CONCLUSION

       For the foregoing reasons, Defendant Cuevas respectfully requests that the Court grant his

Motion to Exclude and Strike the Testimony of the Plaintiffs’ expert witness, John Stamm, P.E.

       Respectfully submitted, this the 28th day of February, 2025.

                                             JASON CUEVAS

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                                CERTIFICATE OF SERVICE


       I hereby certify that on February 28, 2025, I electronically filed the foregoing with the

Clerk of the Court using the ECF system which sent notification of such filing to the following:

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